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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    DONALD CARLSON, individually and on                  CASE NO. C20-5476-JCC
      behalf of all others similarly situated,
10
                                                           MINUTE ORDER
11                           Plaintiff,
                 v.
12
      UNITED NATURAL FOODS, INC., and
13    SUPERVALU, INC.,
14                           Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on the parties’ joint motion to extend the litigation
19   stay (Dkt. No. 29). Having thoroughly considered the motion and the relevant record and finding
20   good cause the Court GRANTS the motion. The Court STAYS this action until December 29,
21   2020 and ORDERS the parties to file a joint status report by December 27, 2020 that (a) sets
22   forth the Parties’ respective and/or collective positions as to whether the stay should remain in
23   effect, and (b) provides the Court with an agreed-upon and/or proposed deadline for submission
24   of an updated Joint Status Report and Discovery Plan.
25          //
26          //

     MINUTE ORDER
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 1        DATED this 5th day of November 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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     MINUTE ORDER
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